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Attachment-A

I, Brandon R. Tuia, state as follows:

1. [am employed as a Criminal Investigator (CI) with the For Hall Police Department (FHPD)
with over seven years of experience. I graduated from the Land Management Police Training
program at the Federal Law Enforcement Training Center in Artesia, New Mexico, in 2010, and
graduated from the Criminal Investigator Training Program at the Federal Law Enforcement
Training Center in Glynco, Georgia, in 2013. I also graduated from Idaho State University in
2002 with a Bachelors degree in Physical Education and a minor in Sociology. I am a holder of
a Special Law Enforcement Commission (SLEC), and am authorized to conduct investigations
and exercise authority delegate by virtue of 25 U.S.C §§ 2803 & 2804 (a) & (f), pursuant to the
agreement between Bureau of Indian Affairs Office of Law Enforcement Services and the
Shoshone-Bannock Tribes, Contract #CTP04T18048. I have led investigations in cases that have
been adjudicated in Tribal, State and Federal Court.

2. Iam aco-case agent into the investigation of an armed robbery that occurred on July 23,
2017, at approximately 02:25 A.M., at the Sage Hill Casino located on Hwy. 91, between North
Bannock Road and Riverton Road, Fort Hall, Idaho, 83203. That location is within the exterior
boundaries of the Fort Hall Indian Reservation, and State and District of Idaho.

3. This affidavit is based: on my personal knowledge and information reported to me by other
federal, state, local and tribal law enforcement officers during the course of their official duties,
all of whom I believe to be truthful and reliable. This information is also based upon information
gained from interviews with citizen witnesses.

4. From my investigation, described in the brief below, there is probable cause to believe that
Dillon Klair McCandless committed the offense of robbery at the above location against the
victim, Shoshone-Bannock Tribes, in violation of 18 U.S.C Sections 2111 and 1152.

5. On July 23, 2017, at approximately 2:25 A.M., a GMC Sierra Z71 truck, black in color,
arrived at the Sage Hill Casino parking lot. The truck parked near the casino’s north entrance
door. A male stepped out of the driver side door and entered the casino through the north
entrance door. The male was wearing a baseball cap, red in color, with the letter “P” logo, black
jacket, black t-shirt, light blue in color jeans and tan color boots. The male was holding a
shotgun, black in color, in his right hand and a white plastic bag in his left hand.

6. The male walked up to the cashier’s window on the south side of the casino. The male placed
the plastic bag in the cashier’s teller’s window and said “Put the fucking money in the bag now.”
The male pumped the fore-end of the shotgun that resulted in an ammunition shell being ejected
onto the floor.

7. The male exited the casino through the north entrance doors, got into the truck and drove
south, on I-15, from the casino.

8. Special Agent (SA) Mike Spitzer, FBI, and I responded to the casino to interview witnesses.
The teller at the cashier’s window, hereafter referred to by the initials of S.C., reported the

 
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suspect was a white male, large build, approximately 6 feet tall. S.C. stated the male had a
young voice and a dark color tattoo on the back side of his hand. The male had a bandana
around his face. S.C. also reported the white plastic bag had a potpourri odor coming from it.
The male was holding a “black shotgun” and he “racked it back.” S.C. placed over $7619.00 in
U.S currency inside the plastic bag. I recovered an unfired 12 gauge shotgun shell from the floor
near the cashier’s window.

9. SA Spitzer and I reviewed the casino surveillance footage of the black truck arriving at the
casino’s parking lot, the male person entering the casino, the male person at the cashier’s
window and him leaving the casino with the bag of money. The casino surveillance technician
enhanced the image of the male’s right hand (backside) at the cashier’s window. The male had a
tattoo of a human skull in black tattoo ink.

10. I had the FHPD Dispatch disseminate a BOLO (Be On the Look Out), through NCIC, to
surrounding law enforcement agencies, requesting any information regarding the male suspect.
Note: The Shoshone-Bannock Tribes’ media relation department posted the BOLO on the
Tribes’ official website and Facebook.

11. On the same day, at approximately 1:10 P.M., I received a phone call from Bingham County
Chief Deputy Jeff Gardner. Deputy Gardner stated the male suspect was Dillon Klair
McCandless, age 27. Deputy Gardner has had several encounters with Dillon during the course
of his police duties. Dillon’s father, Jay McCandless, is a former Blackfoot City Police Officer
and worked with Deputy Gardner several years ago. Deputy Gardner received a phone call from
Dillon’s brother, Wyatt McCandless. Wyatt told Deputy Gardner that his family saw the BOLO
on Facebook, and they believe the male suspect is Dillon. Wyatt stated his brother, Hutchinson
(Hutch) McCandless, has a shotgun missing from his home. During my phone conversation with
Deputy Gardner, FHPD Dispatch radioed that Jay McCandless was on the phone requesting to
speak with the investigator in charge of the casino robbery. I talked with Jay, and he agreed to
bring his wife, Angela McCandless and Hutch to the Bingham County Sheriff’s Office for an
interview.

12. On the same day, at approximately 2:09 P.M., SA Spitzer and I interviewed Jay, Hutch and
Angela. Jay advised they have 4 children; Wyatt, Dillon, Hutch and Mariah. Jay and Angela
were at church when they received a call from Mariah. Mariah read on social media about the
casino robbery and she believes the suspect was Dillon. Jay read the BOLO and called the
FHPD to report he believes the suspect was Dillon.

13. Dillon lives with his parents at 64 South 1000 West, Blackfoot, Idaho. Dillon was
diagnosed with schizophrenia in 2014. Dillon has been using methamphetamine and drinking
alcohol recently. On Saturday at approximately 3:00 P.M., Dillon told Angela that he was going
to town. Dillon was depressed, and was not on his medication. Dillon was wearing tan color
boots, dark color shirt, jacket and blue jeans when he left the home. Dillon drives a 2009 GMC
Sierra, black in color, Idaho license plate 4BK1924. Hutch confirmed that Dillon owns a red
“Phillys” baseball hat. Angela thought it was odd that Dillon was wearing a jacket due to the hot
weather. Dillon did not return home, and Angela was concerned. Sunday morning Dillon was
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still not home. Dillon did not answer Angela’s text messages or phone calls. Jay noticed the
cabinet under the sink was open. This was very unusual due to Angela never leaving it open in
the past. Angela stated she stores the plastic garbage bags that smell like potpourri under her
sink. Hutch stated Dillon used to live with him at 993 West Hwy 26 in Blackfoot, Idaho. Hutch
owns a Mossberg 12 gauge pump action shotgun that he, in the past, stored in a closet in the
bedroom Dillon used to sleep in. When Hutch found out that Dillon may be the prime suspect in
the casino robbery, he went to check on his shotgun. The shotgun was missing from his home.
All family members stated Dillon has a tattoo of a skull on the back of his hand.

14. I showed Jay, Angela and Hutch the casino surveillance video footage of the robbery. They
all advised the person that walked into the casino, took money from the cashier’s window and
got inside the black truck was Dillon.

15. Based on the information provided in this affidavit, I submit there is probable cause to
believe that Dillon Klair McCandless committed the offense of Robbery, on July 23, 2017, on
the Fort Hall Indian Reservation, Fort Hall, Idaho.

Dated this 227" day of July 2017.

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/ Bratdon Faia, Detective

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Sworn to and subscribed before me this BY day of July, 2017.

CO be
CANDY W. DALE
United States Magistrate Judge
